
USCA1 Opinion

	












                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

          No. 96-1679

                                    UNITED STATES,
                                      Appellee,

                                          v.

                                DOMINGO SANTANA-ROSA,
                             A/K/A FELIX SANCHEZ-SUAREZ,
                                Defendant - Appellant.

                                 ____________________

          No. 96-1680

                                    UNITED STATES,
                                      Appellee,

                                          v.

                                 ORLANDO DIAZ-MORLA,
                             A/K/A JOAQUIN CARPIO-JAVIER,
                                Defendant - Appellant.

                                 ____________________

                    APPEALS FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF PUERTO RICO

                    [Hon. H ctor M. Laffitte, U.S. District Judge]
                                              ___________________

                                 ____________________

                                        Before

                               Torruella, Chief Judge,
                                          ___________

                                Lynch, Circuit Judge,
                                       _____________

                         and DiClerico, Jr.,* District Judge.
                                              ______________

                                _____________________


                              
          ____________________

          *  Of the District of New Hampshire, sitting by designation.














               Arthur Joel Berger, with whom  Leonard Baer was on brief for
               __________________             ____________
          appellants.
               Jos   A. Quiles-Espinosa,  Senior  Litigation Counsel,  with
               ________________________
          whom  Guillermo Gil,  United States  Attorney,  Edwin O.  V quez,
                _____________                             ________________
          Assistant  United   States  Attorney,   and  Nelson   P rez-Sosa,
                                                       ___________________
          Assistant United States Attorney, were on brief for appellee.



                                 ____________________

                                   January 6, 1998
                                 ____________________








































                                         -2-














                    DiClerico,  District Judge.    The defendants,  Domingo
                    DiClerico,  District Judge.
                                ______________

          Santana-Rosa and Orlando D az-Morla, were convicted of possessing

          cocaine  on a  vessel within  the  customs waters  of the  United

          States with intent to distribute it.  On appeal they raise issues

          pertaining to the jury  instructions, the opinion testimony of  a

          witness, and the  sufficiency of the  evidence.  Having  reviewed

          the  defendants  arguments,  we affirm  the  convictions for  the

          reasons expressed below.



                          Factual and Procedural Background
                          Factual and Procedural Background
                          _________________________________

                    We review the facts in  the light most favorable to the

          verdict.  See United  States v. Cardoza, 129 F.3d 6,  __, 1997 WL
                    ___ ______________    _______

          656296, *1 (1st Cir. Oct. 27,  1997); United States v. Wihbey, 75
                                                _____________    ______

          F.3d 761, 764 (1st Cir. 1996).  On July 6, 1995, a police officer

          with the Fajardo Drugs and  Narcotics Division of the Puerto Rico

          Police  Department received two anonymous tips that a shipment of

          cocaine  was going  to be  delivered  in the  Fajardo area.   The

          government  sent aloft a  United States Customs  Service aircraft

          equipped with radar and an  infrared night vision system known by

          the acronym "FLIR," which means "forward looking infrared."   The

          FLIR  system allows objects to  be monitored in complete darkness

          based on the heat of the objects.

                    The aircraft began patrolling  the area between Fajardo

          and the island of Culebra at an altitude of 1500 feet.  At  10:15

          p.m.   Customs  Service  Agent  John  Alpers,  who  operated  the

          aircraft's FLIR, located a marine  vessel northwest of Culebra at


                                         -3-














          1825 degrees  latitude and 6526  degrees longitude.   The vessel,

          approximately  thirty feet long and with  two engines, was moving

          toward  Fajardo at  a high  rate of  speed with  its navigational

          lights out in violation of 19 U.S.C.   1703.  When first located,

          it was  approximately five miles  from the nearest land  point on

          United  States  territory.    During  subsequent  events,  Alpers

          tracked the vessel  with FLIR and radar,  but at no point  did he

          make direct visual observations of the vessel or its occupants.

                    The  aircraft  lost  contact with  the  vessel,  but it

          reacquired  it  at  10:56  p.m.   At  that  point,  the  aircraft

          descended to an altitude of 1000 feet and continued  to track the

          vessel from  a distance of  one-half to three-quarters of  a mile

          away.   At 11:02  p.m., Agent Alpers,  with the  aid of  the FLIR

          system,   observed  movements  of   people  on  the   vessel  who

          "appear[ed] to throw  large objects" overboard.   At that  point,

          the  vessel was again  approximately five miles  from the nearest

          land point  on United States  territory.  After the  objects were

          thrown overboard, the  vessel departed and headed  toward Fajardo

          at  high   speed,  leaving  the   objects  in  the  water.     At

          approximately  11:20 p.m.,  the  vessel  beached  in  the  Cabeza

          Chiquita area of Puerto Rico,  about nine nautical miles from the

          place  where the  objects  were  thrown from  the  vessel.   Four

          persons then  ran from the vessel  into a remote  area dense with

          mangroves.   No other  boats were  in the  immediate area  of the

          vessel throughout this time.

                    The aircraft requested that a National Guard helicopter


                                         -4-














          fly  to and mark the area where  the objects had been dumped.  In

          addition,  it requested  the  assistance  of  other  officers  in

          apprehending the  persons who had run from  the vessel.  A Puerto

          Rico police helicopter, a National Guard helicopter, and a police

          boat arrived to  search the area for the persons who had fled the

          vessel.

                    One  of  the  helicopters  illuminated  the  area  with

          floodlights to assist the law  enforcement officers on the ground

          in detaining the individuals.   Between 12:02 and 12:09 a.m., the

          police arrested three persons.  Two of them are the defendants in

          this  case.  Defendant Santana-Rosa was  found hiding under water

          while holding on to mangrove roots.  Defendant D az-Morla and the

          third  individual were  hidden  about  ten  feet  from  defendant

          Santana-Rosa.   The fourth person observed leaving the vessel was

          not apprehended.  Both defendants gave false names when arrested.

          Defendant  Santana-Rosa asked the  arresting officer why  so much

          government force was being used to catch an illegal alien.

                    Police  recovered  twenty-seven   bales  of  ninety-one

          percent pure  cocaine weighing  970 kilograms  at the  site where

          Alpers  witnessed objects  being  dumped from  the  vessel.   The

          defendants were  charged  with  a violation  of  46  U.S.C.  app.

            1903(a), which makes it illegal, inter alia, to possess cocaine
                                             __________

          with  intent to  distribute it  on  a vessel  within the  customs

          waters of  the United  States.  See  46 U.S.C.A.  app.   1903(a),
                                          ___

          (c)(1)(D)  (West Supp. 1997).   The defendants  were convicted by

          jury after a five-day trial.


                                         -5-














                    At trial, the main defense was that there was a lack of

          direct  evidence  establishing  that   the  defendants  were  the

          individuals observed on the FLIR  system leaving the vessel.  One

          of the  defendants testified on  his own behalf, stating  that he

          was  an  illegal  alien  seeking  to  avoid  detection.    Alpers

          testified that the customs waters of the United States extend for

          twelve miles from  any land  mass that is  part of United  States

          territory  and that  he observed  the vessel  within the  customs

          waters of the  United States.  Alpers also  testified on redirect

          over the objection  of counsel that, based on  his experience, in

          his opinion  the individuals who  were arrested were the  ones he

          witnessed  fleeing the vessel.   Following their  conviction, the

          defendants filed a timely appeal.



                                      Discussion
                                      Discussion
                                      __________

                    The defendants allege that three errors in the district

          court proceedings require our attention.   They contend that: (1)

          the trial  court erred  in failing  to instruct  the jury on  the

          meaning of  the phrase "within  the customs waters of  the United

          States";  (2) the  trial  court erred  in not  requiring pretrial

          disclosure of the  testimony of Customs Service Agent Alpers; and

          (3) the evidence was legally insufficient to  establish that they

          were the  persons on the vessel  who had dumped  cocaine into the

          ocean.  The court discusses these claims seriatim.
                                                   ________



                    A.  Jury Instruction on Customs Waters
                    ______________________________________


                                         -6-














                    The statute  under which the defendants were convicted,

          46 U.S.C. app.   1903, makes it "unlawful for any person . . . on

          board a vessel  subject to the jurisdiction of  the United States

          . . . to knowingly or intentionally . . . possess  with intent to

          . . . distribute . . . a controlled substance."  46 U.S.C.A. app.

            1903(a)  (West  Supp.  1997).    A vessel  is  subject  to  the

          jurisdiction of  the  United  States,  inter  alia,  when  it  is
                                                 _____  ____

          "located within  the customs waters  of the United States."   Id.
                                                                        ___

            1903(c)(1)(D).   The  defendants allege  that  the trial  court

          erred  in failing  to instruct  the jury  on the  meaning of  the

          phrase "within  the  customs  waters  of the  United  States,"  a

          substantive element of the offense for which they were convicted.

          The  defendants contend that,  because the  term has  a technical

          meaning not within the expertise of the jury, the judge's failure

          to define it  meant that the government was not required to prove

          this element of its case beyond a reasonable doubt.

                    Because  the defendants failed  to object to  the trial

          court's instruction, our  review is for plain error.   See United
                                                                 ___ ______

          States v.  Fulmer, 108  F.3d 1486, 1495  (1st Cir.  1997); United
          ______     ______                                          ______

          States v. And jar,  49 F.3d 16, 22 (1st Cir. 1995).1  The failure
          ______    _______
                              
          ____________________

          1  We reject as without merit  the defendants' contention that we
          should apply a more rigorous  standard of review.  The defendants
          have  requested  that  we  adopt  a  rule  that  where  a  charge
          conference is not held in open court or on the record, it will be
          presumed  that a defendant  properly objected to  any instruction
          which  he or  she  wishes  to pursue  on  appeal.   However,  our
          previous decisions establish that a party waives any objection it
          might  have  to a  jury  instruction  by  failing to  enter  that
          objection  into  the  record  immediately  after  the  judge  has
          instructed the  jury and  before the  jury begins  deliberations.
          See, e.g., Kerr-Selgas v. American Airlines, Inc.,  69 F.3d 1205,
          ___  ____  ___________    _______________________

                                         -7-














          to give an instruction may be noticed as plain error when: (1) it

          is an error; (2) the error is clear or obvious; and (3) the error

          affected  the substantial rights of  the defendants.  See Johnson
                                                                ___ _______

          v. United States,  117 S. Ct. 1544, 1547 (1997); United States v.
             _____________                                 _____________

          Olano, 507 U.S.  725, 732-35; Fed. R. Crim. P. 52(b).  When plain
          _____

          error is  found, a reviewing  court has discretion to  correct it

          only  when the error "seriously affect[s] the fairness, integrity

          or public reputation  of judicial proceedings."   Olano, 507 U.S.
                                                            _____

          at  736 (quoting  United States  v. Atkinson,  297 U.S.  157, 160
                            _____________     ________

          (1936));  see Johnson, 117  S. Ct. at  1550.  We  thus review the
                    ___ _______

          context of the  charge as a whole to determine if it contains "an

          error  that threatens to  'undermine the fundamental  fairness of

          the trial.'"  Fulmer, 108 F.3d  at 1495 (quoting United States v.
                        ______                             _____________

          Josleyn, 99  F.3d 1182,  1197 (1st Cir.  1996), cert.  denied sub
          _______                                         _________________

          nom. Billmyer v. United States, 117 S. Ct. 959 (1997)).
          ____ ________    _____________

                    The statute under which  the defendants were convicted,

          46 U.S.C. app.   1903, is silent as to the definition of the term

          customs waters.   See 46 U.S.C.A. app.    1903(b)-(c) (West Supp.
                            ___

          1997).   Other  statutes make  clear, however,  that the  customs

          waters of  the United States  extend for four leagues,  or twelve

          miles, from United  States territory unless another  distance has




                              
          ____________________

          1212-13 (1st Cir. 1995) (civil context); United States  v. Nason,
                                                   _____________     _____
          9  F.3d  155, 160-61  (1st  Cir.  1993)  (criminal context);  see
                                                                        ___
          also Fed. R. Crim. P. 30.   We decline the defendants' invitation
          ____
          to depart  from the well-settled  rule by adopting  the requested
          presumption.

                                         -8-














          been  established by  treaty.   See 19  U.S.C.A.   1401(j)  (West
                                          ___

          1980).2   In this case,  the judge  instructed the jury  that one

          element of the offense was that the vessel be within the "customs

          waters of the  United States" but he  failed to provide  the jury

          with a further definition of the term.3
                              
          ____________________

          2  The full text of 19 U.S.C.   1401(j) provides:

                      The  term  "customs waters"  means,  in the
                    case  of a foreign vessel subject to a treaty
                    or  other   arrangement  between   a  foreign
                    government and the United  States enabling or
                    permitting  the  authorities  of  the  United
                    States to  board, examine, search,  seize, or
                    otherwise to  enforce upon  such vessel  upon
                    the  high seas the laws of the United States,
                    the waters  within such distance of the coast
                    of the United States as the  said authorities
                    are or may be so enabled or permitted by such
                    treaty  or arrangement  and,  in the  case of
                    every other  vessel, the  waters within  four
                    leagues of the coast of the United States.

          19 U.S.C.A.   1401(j) (West 1980).

          3  The  relevant portion of the  trial judge's instruction is  as
          follows:

                      Okay.   Let's  discuss those  statutes that
                    are charged in the indictment.  Let's discuss
                    46  U.S.C., Section  1903(a).    One  of  the
                    offenses charged  in the indictment  under 46
                    United  States  Code, Section  903(a)  [sic],
                    provides in the pertinent part as follows:

                      It  is unlawful for  any person on  board a
                    vessel  subject to  the  jurisdiction of  the
                    United States  to knowingly  or intentionally
                    possess   with   intent   to   distribute   a
                    controlled substance.

                      Section 1903(b) and (D), vessel of the U.S.
                    defined:  Definition  of  a  vessel  for  the
                    purpose  of this  section means  (D), capital
                    (D), parenthesis: A vessel located within the
                    customs waters of the United States.


                                         -9-














                    Despite the  omission of  a definition  of the  element

          from  the jury  instructions,  the jury  was not  left completely

          without  guidance  on  the  issue.    The  government  introduced

          unrebutted  testimony by  Alpers  as  to  both  what  constituted

          customs waters  and the  location of  the  vessel within  customs

          waters.   At trial,  Alpers testified that  the vessel  was first

          picked up on  FLIR within five miles of  United States territory.

          He also  testified that the  customs waters of the  United States



                              
          ____________________

                      . . . .

                      Let's  discuss  the essential  elements  of
                    that  offense.   In  order  to establish  the
                    offense  proscribed by  Title 46,  U.S. Code,
                    Section 1903, the government  must prove each
                    of the following elements beyond a reasonable
                    doubt:

                      One, that  each  defendant was  on board  a
                    motor vessel located within the custom waters
                    of the United States.

                      . . . .

                      . . . .  The superseding indictment in this
                    case also charges that a vessel is subject to
                    the jurisdiction  of the  United States.   In
                    order to find defendants guilty in this case,
                    you  will  have  to  determine,  among  other
                    things,  if  the government  proved  beyond a
                    reasonable doubt that the vessel in  question
                    was  a vessel within the custom waters of the
                    United States.

                      Section  1903(b)  and  (D): Vessel  of  the
                    United  States  defined  means   --  for  the
                    purpose of this sections [sic] means a vessel
                    located  within  the  custom  waters  of  the
                    United States.

          Tr. 706-08.

                                         -10-














          extend for twelve miles from the territory of the United States.4
                              
          ____________________

          4    Alpers'   complete  testimony  on  the  issue,   made  while
          illustrating his comments  with the aid  of a navigational  chart
          depicting  the  area  in  question that  was  also  entered  into
          evidence, is as follows:

                    Q:   Now,   have  you   marked  the   initial
                         sighting in the map?

                    A:   Yes, sir, I have.

                    Q:   Would you -- using this pointer --

                    MR. QUILES:  If I may approach the witness?

                    Q:   (By Mr. Quiles) -- show the jury when --
                         where is  it that you first  sighted the
                         boat.

                    A:   Okay.    It's  right  here,  ladies  and
                         gentlemen,  right  in  this  area  here.
                         That's  when   we  first   acquired  the
                         vessel, again traveling lights-out, high
                         rate of speed, heading  260 towards this
                         area   here,   heading   this  direction
                         approximately here.

                    Q:   Now,  sir, were you  able to --  are you
                         able  to tell the members of the jury at
                         what coordinates was that boat --

                    A:   Yes, sir.

                    Q:   -- located at once you first locked into it?

                    A:   Right.    Approximate  coordinates, 1825
                         and 6526.  Again, that's a latitude  and
                         a longitude.   Again,  that was  in this
                         area right here.   You can  see Culebra,
                         of course  mainland Puerto Rico,  and it
                         was between both of those, north of this
                         small island chain here.

                    Q:   As a customs officer was that within the
                         customs waters of the United States?

                    A:   Yes,  sir.   That  was  within  the  U.S.  Customs
                         waters.

                    Q:   How far out do the customs waters of the

                                         -11-














          Alpers'  testimony did not, however, mention that the twelve-mile

          limit can be modified by treaty.

                    Given  this testimony,  the defendants  have failed  to

          meet their burden to show  that the omitted instruction  affected

          their substantial rights.  We  agree with the defendants that the

          term  "customs  waters  of  the  United States"  is  outside  the

          experience of lay jurors, and that in the usual case the district

          court must give  at least an instruction  concerning the ordinary

          definition of  that term, i.e., that the  defendants' vessel must

          have been  within four  leagues or twelve  nautical miles  of the

          nearest land  territory of the  United States.   However, because

          the evidence was  uncontroverted that the defendants'  vessel was

          well within  this limit,  we cannot see  how this  omission could

          have affected their substantial rights, as required under Olano.
                                                                    _____

                    The defendants did not argue that the twelve-mile limit

          was inapplicable  because their  vessel was covered  by a  treaty

          that  contracted the  ordinary  limit.   In  fact, such  treaties

                              
          ____________________

                         United States extend from any land point
                         belonging to the United States?

                    A:   Twelve miles.

                    Q:   And  there  are  --  are how  many  land
                         points there  in that area that you know
                         of that belong to the United States?

                    A:   That  is all  U.S. territory.   Culebra,
                         the island chain, of course Puerto Rico.
                         And the vessel, when first acquired, was
                         approximately five miles north of a land
                         mass, thus in U.S. Customs waters.

          Tr. Vol I, p. 67-69.

                                         -12-














          ordinarily  expand  the  twelve-mile limit.    See,  e.g., United
                                                         ___   ____  ______

          States  v. Doe, 860  F.2d 488,  490 (1st Cir.  1988).   We do not
          ______     ___

          decide  under what  circumstances a  defendant  is entitled  upon

          proper  request to an instruction concerning the treaty exception

          to the twelve-mile  limit.  In  this case,  however, it is  clear

          that such  an omission  cannot, at the  very least,  rise to  the

          level of  "plain error."   Given  the failure  of the defense  to

          suggest that the  exception was at all relevant,  the omission is

          not "plain  error"; certainly it did not  "seriously affect[] the

          fairness,   integrity   or    public   reputation   of   judicial

          proceedings."   United States v.  Johnson, 117 S. Ct.  1544, 1550
                          _____________     _______

          (1997) (quoting Olano, 507 U.S. at 736) (internal quotation marks
                          _____

          omitted).5



                    B.  Testimony of Customs Service Agent Alpers
                    _____________________________________________

                    The  defendants next contend that the trial court erred

          in not requiring pretrial disclosure of Alpers' opinion testimony

          that the defendants  were the same  individuals whom he  observed




                              
          ____________________

          5  The defendants have requested that we temporarily refrain from
          deciding this  case  to await  the  Supreme Court's  decision  in
          United States  v. Rogers,  94 F.3d 1519  (11th Cir.  1996), cert.
          _____________     ______                                    _____
          granted in  part, 117 S.  Ct. 1841 (U.S.  May 27, 1997)  (No. 96-
          ________________
          1279).   However, in that  case the Supreme Court  certified only
          the  following question: "Whether  a district court's  failure to
          instruct the jury on an  element of an offense is harmless  error
          where, at trial,  the defendant admitted that element."   Rogers,
                                                                    ______
          117 S. Ct.  at 1841.  Because,  inter alia, that case  deals with
                                          _____ ____
          harmless  error  rather than  plain  error,  we  do not  find  it
          necessary or desirable to await the Court's opinion in that case.

                                         -13-














          fleeing the vessel.6  The defendants claim that Alpers' testimony

          was expert testimony, and thus the government's failure to comply

          with the  expert disclosure requirements constituted  a discovery

          violation.   The government  contends that Alpers   testimony was

          notexpert testimony,butrather constitutedapermissible layopinion.

                    The central issue  in the trial  was whether the  three

          men who were  arrested were three of  the same four men  who fled

          the vessel when they grounded  it.  On direct examination, Alpers

          testified as to the events he witnessed  with the aid of the FLIR

          system.     On  cross-examination,  defense  counsel   sought  to

          undermine Alpers'  assertion that  the defendants  were the  same

          people whom he had observed  on the vessel with the  FLIR system.

          On redirect  examination, Alpers testified  over the  defendants'

          objection that in his opinion and based on his experience, he had

          no doubt  that they  were the same  individuals.   The defendants

          contend  that because Alpers'  opinion was based  not upon direct

          observation but instead  upon images on the FLIR  this was expert

          rather than lay testimony.  Because the government did not reveal

          in its expert report that Alpers would give his opinion regarding

          the identity of  the defendants as the men who left the boat, the

          defendants  claim that the government violated discovery rules by




                              
          ____________________

          6  The defendants concede that, rather than outright reversal, on
          the record in this case the error would entitle them at most to a
          remand to  the district  court to  determine whether a  discovery
          violation  occurred  and  if so,  what  the  appropriate sanction
          should be.

                                         -14-














          introducing the testimony.7

                    We  have rejected similar contentions in  the past.  In

          United States  v. Rivera-Santiago,  107 F.3d  960, 968 (1st  Cir.
          _____________     _______________

          1997),  the defendants  also  claimed  that  customs  agents  had

          improperly testified as experts.  We stated:

                      In  United States  v.  Paiva, 892  F.2d 148
                          _____________      _____
                    (1st Cir.  1989), we  noted that  the "modern
                    trend   favors  the   admission  of   opinion
                    testimony [from  lay witnesses],  provided it
                    is  well founded  on  personal knowledge  and
                    susceptible  to cross-examination."   Id.  at
                                                          ___
                    157 (permitting drug user  to express opinion
                    that substance  she found was  cocaine).   We
                    further   explained   that   "the  individual
                    experience and knowledge of a lay witness may
                    establish  his  or  her  competence,  without
                    qualification  as an  expert,  to express  an
                    opinion on a  particular subject outside  the
                    realm of  common  knowledge."    Id.;  accord
                                                     ___   ______
                    United States v. VonWillie, 59 F.3d 922,  929
                    _____________    _________
                    (9th Cir. 1995) (based  on experience, police
                    officer  could testify as lay witness that it
                    was  common  for   drug  traffickers  to  use
                    weapons to protect drugs; opinion was helpful
                    to  determination  of whether  defendant  was
                    involved in drug trafficking).

          Rivera-Santiago,  107 F.3d at  968.  Here,  Alpers unquestionably
          _______________

          had  experience and knowledge in interpreting FLIR images outside

          the realm of the jurors'  common knowledge.  Because he was  able

          to form  an opinion based  on his direct  observation and he  was

          subject to cross-examination, it was permissible for him to offer

          his  opinion  as a  lay  witness.    The defendants'  attempt  to

          distinguish  Rivera-Santiago  is  unavailing.    Alpers  was  not
                       _______________
                              
          ____________________

          7  Because  of the court's ruling that Alpers was not offering an
          expert  opinion, the  court need  not  consider the  government's
          contention  that it  effectively  complied  with  the  disclosure
          requirements  by disclosing prior to trial a statement containing
          the factual basis for Alpers' opinion.

                                         -15-














          presented as an expert and he did not testify as an expert.  Thus

          it was not  error for the  trial court to  allow him to  give his

          opinion  as  to the  identity  of  the  individuals whom  he  had

          observed on the FLIR system.



                    C.  Sufficiency of the Evidence
                    _______________________________

                    Finally, the  defendants claim  that  the evidence  was

          legally insufficient to  establish that they were  the persons on

          the vessel who had dumped cocaine into the ocean.  We review such

          a contention  taking the  facts presented at  trial in  the light

          most favorable to the verdict.  See United States  v. Rogers, 121
                                          ___ _____________     ______

          F.3d  12, 15  (1st Cir. 1997);  United States v.  Montas, 41 F.3d
                                          _____________     ______

          775, 778 (1st Cir. 1994).   Undoubtedly, no single individual was

          able to  observe the defendants unimpeded and unassisted from the

          time they left the vessel until they were arrested.  However, the

          circumstantial evidence that the defendants were the ones who had

          fled the  vessel was  sufficient to allow  a reasonable  juror to

          conclude  that they  had  been  seen on  the  vessel dumping  the

          cocaine.   Four  individuals  were  witnessed  running  into  the

          mangroves.   Three individuals were arrested among the mangroves.

          No other individuals were encountered  in the area, and there was

          testimony that the area where  the vessel grounded was remote and

          uninhabited.  Alpers testified that,  in his opinion, the men who

          were arrested were the ones who had fled the vessel.

                    The jury  was not  required to  credit the  defendants'

          theory  that   they  were   illegal  aliens   seeking  to   evade


                                         -16-














          deportation.   The  only evidence  of this  was presented  by the

          defendants themselves, and it was  within the scope of the jury's

          factfinding  function to disregard this evidence entirely.  Thus,

          taken in the light most favorable to the verdict, there was ample

          evidence, both direct and circumstantial, from which a reasonable

          juror could  have concluded that  the defendants had been  on the

          vessel, dumped cocaine from the vessel, grounded the vessel, fled

          to  the mangroves,  attempted  to  evade  detection  until  their

          arrest, and  then provided a false explanation  of their behavior

          in  light  of  the  likely  repercussions of  their  acts.    The

          defendants have failed  to show that they are  entitled to relief

          based  on the  alleged  insufficiency  of  the  evidence  offered

          against them.



                                      Conclusion
                                      Conclusion
                                      __________

                    For  the reasons stated  above, the convictions  of the

          defendants are affirmed.
                         affirmed
                         ________




















                                         -17-









